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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          CASE NO.: 17-61464-civ-Dimitrouleas/Snow

    ALFRED CLARK, JR.,
    JASON ADOLPHUS DAVIDS,

                   Plaintiffs,
    v.

    NATIONWIDE HVAC CORP,
    ARSEN GRITSENKO,
    LUKASZ KOZOWY,

                Defendants.
    __________________________________/

                   PLAINTIFFS’ MOTION FOR EXTENSION OF TIME
                             TO SERVE DEFENDANTS

           Pursuant to the Court’s Order to Show Cause [DE 6], Plaintiffs move for an

    extension of time to serve Defendants, and in support, states the following:

    1.     Defendants are actively evading service.

    2.     Plaintiffs’ process server has made many efforts to serve Defendants.

    3.     Defendants repeatedly advise Plaintiffs’ process server that they are available, but

    when the process server comes to serve the papers, Defendants are nowhere to be found.

    4.     Plaintiffs’ process server advises:

                   No matter what the Defendant says, that he is there and will
                   be there, etc….. When we go to the address provided, there
                   is no answer at the door. I just tried calling him again, and
                   now I get voicemail. Not sure what more we can do other
                   than sit there to see if someone comes out of the apartment
                   condo, which Arsen claims is an office. Server is continuing
                   attempts, but, I do believe they are avoiding.

    5.     At this point, Plaintiffs desire to pursue service on Defendant Nationwide HVAC

    Corp through Florida’s Secretary of State.



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    6.     Plaintiffs also desire to make further efforts to serve the individual defendants who

    are actively avoiding service.

           WHEREFORE, Plaintiffs respectfully requests an additional 90 days to serve

    Defendants.

                                                 Respectfully submitted,

                                                 Koz Law, P.A.
                                                 320 S.E. 9th Street
                                                 Fort Lauderdale, Florida 33316
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                                                 Elliot Kozolchyk, Esq.
                                                 Bar No.: 74791

                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing was
    electronically filed on October 27, 2017 with the Clerk of Court using CM/ECF along with
    having served all counsel of record or pro se parties identified on the service list
    incorporated herein in the manner specified, either via transmission of Electronic filing
    generated by CM/ECF or in some other authorized manner for those counsel or parties not
    authorized to receive electronically Notice of Electronic Filing.




                                                 Elliot Kozolchyk, Esq.


                                        SERVICE LIST

           Defendants have not yet appeared in this case.




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